                         UNITED STATES DISTRICT COURT
                      MIDDLE DISTRICT OF NORTH CAROLINA
                             DOCKET NO. 1:23-cv-114

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 JOHN DOE

                                Plaintiff,

       -against-

 WAKE FOREST UNIVERSITY,

                                 Defendant.
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                MOTION FOR TEMPORARY RESTRAINING ORDER
                      AND PRELIMINARY INJUNCTION

       Plaintiff, through his attorneys, Nesenoff & Miltenberg, LLP and Ekstrand and

Ekstrand, LLP, respectfully moves this Court for an ex parte temporary restraining order,

and, subsequently, for a preliminary injunction, pursuant to Fed. R. Civ. P. 65:

       (i)      prohibiting Defendant from suspending Plaintiff and marking his transcript,

       (ii)     requiring Defendant to maintain and/or restore Plaintiff’s access to all

                courses and academic activities for the Spring 2023 semester, for which

                Plaintiff has already paid tuition and fees, registered, and is underway, and

       (iii)    directing Defendant, upon Plaintiff’s successful completion of the relevant

                requirements, to timely confer Plaintiff’s degree, pending the resolution of

                this litigation.

       In support of this motion, Plaintiff shall rely upon the Verified Complaint [ECF No.

1], the supporting memorandum of law and the declarations and exhibits annexed thereto,

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which will be contemporaneously filed with this motion.



      Respectfully submitted on this the 7th day of February 2023,

                                        NESENOFF & MILTENBERG, LLP

                                        By: /s/ Andrew Miltenberg
                                        Andrew T. Miltenberg, Esq.
                                        Tara J. Davis, Esq.
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                                        Notice of Special Appearances Forthcoming

                                               -and-

                                        EKSTRAND AND EKSTRAND, LLP

                                        By: /s/ Robert Ekstrand
                                        Robert C. Ekstrand, Esq.
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                                        Attorneys for Plaintiff




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                            CERTIFICATE OF SERVICE
      I certify that on this 7th day of February 2023, I filed the foregoing using the
CM/ECF system, which will provide notice to all counsel of record. Further, the foregoing
will be served on the Defendant, Wake Forest University, with the Complaint and
Summons issued by the Court.


                                                      /s/ Robert C. Ekstrand
                                                      Robert C. Ekstrand
                                                      Counsel for Plaintiff




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